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                        EXHIBIT 12
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DEPARTMENT OF HEALTH & HUMAN SERVICES
Centers for Medicare & Medicaid Services
7500 Security Boulevard, Mail Stop S2-14-26
Baltimore, Maryland 21244-1850


Disabled and Elderly Health Programs Group


May 10, 2019

Kathleen A Schaefer
Senior Vice President and Corporate Controller
Mallinckrodt Pharmaceuticals
1425 U.S. Route 26
Bedminster, NJ 07921

Dear Ms. Schaefer:

As we noted in our latest March 12, 2019 letter to Mallinckrodt, the current base date AMP that you are
reporting to the Drug Data Reporting (DDR) for Medicaid system does not reflect the appropriate base
date AMP for H.P. Acthar Gel. In that letter, we provided you with a template that we asked you to return
to us so we can make the change in DDR so Mallinckrodt can report the appropriate base date AMP and
ensure the appropriate rebate payments. To date, the company has not returned the template.

This is a notice that Mallinckrodt has not taken action to date to correct this information and must do so
within 14 days of receiving this notice and notify CMS of its action, otherwise CMS will identify the
NDCs as “out of compliance” in the DDR system. When an NDC is identified as out of compliance, the
submission of pricing records or updates to product data will not be allowed online or via file
transfer. The NDCs will remain out of compliance until Mallinckrodt takes the necessary steps to bring
the NDCs’ product information into compliance. CMS may also refer Mallinckrodt to the Department of
Justice and/or U.S. Department of Health and Human Services-Office of Inspector General for further
review and investigation.

As we have discussed, the April 13, 2016 letter sent to the Mallinckrodt regarding this issue constituted
the agency’s final decision on this issue, and any further discussions regarding this issue would not be
productive. Accordingly, we are not entertaining the proposal included in your April 12, 2019
correspondence and reiterate that you must take action within 14 days to submit the corrected
information.

Please review your records and contact CMS at rxdrugpolicy@cms.hhs.gov if you have any questions
regarding returning the template.


                                                 Thank you.

                                                 /S/

                                                 John M. Coster, Ph.D., R.Ph.
                                                 Director, Division of Pharmacy
